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                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

CLEVELAND COMMUNICATIONS,                )   CASE NO. 1:23-cv-1561
INC.,                                    )
                                         )   JUDGE CHARLES ESQUE FLEMING
                          Plaintiff,     )
vs.                                      )
                                         )
LORAIN COUNTY BOARD OF                   )
COMMISSIONERS, ET AL.,                   )
                                         )
                          Defendants.    )

                 MOTION FOR LEAVE TO FILE
  MOTION TO CONDUCT LIMITED PRE-CONFERENCE DISCOVERY OF
              DEFENDANT JEFFREY ARMBRUSTER
                       UNDER SEAL

       NOW COMES, Plaintiff Cleveland Communications, Inc., by and through the

undersigned counsel, and hereby moves for leave to file its Motion to Conduct

Limited Pre-Conference Discovery on Defendant Jeffrey Armbruster (the “Motion”)

under seal pursuant to Local Rule 5.2. The Motion references and relies on

sensitive personal health information related to Defendant Armbruster.

                                         Respectfully submitted,
        IT IS SO ORDERED.
        s/Charles E. Fleming             /s/ Allen T. Carter
        United States Distric
                      District Judge     Edmund W. Searby (0067455)
        Dated: May 28, 2025              McDaniel M. Kelly (0097628)
                                         Porter Wright Morris & Arthur LLP
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                                         Allen T. Carter (0085393)
